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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

CENTRAL STATES, SOUTHEAST AND )
SOUTHWEST AREAS PENSION FUND; )
and ARTHUR H. BUNTE, JR., trustee,   )             Case No.15 C 10828
                                     )
                       Plaintiffs,   )
                                     )             Judge Wood
                v.                   )
                                     )             Magistrate Judge Valdez
GREGORY STEPHENS, an individual; and )
SHERRY STEPHENS, an individual,      )
                                     )
                       Defendants. )

                                 DEFENDANTS’ ANSWER

        Defendants Gregory Stephens and Sherry Stephens, by their attorney and pursuant to

 the applicable court rules, answer the Complaint of Central States, Southeast and Southwest

 Areas Pension Fund (the “Pension Fund”) and Arthur H. Bunte, Jr., one of its present

 trustees, as follows:

                                    JURISDICTION AND
                                         VENUE

       1.       This action arises under the Employee Retirement Income Security Act of 1974

(“ERISA”), as amended by the Multiemployer Pension Plan Amendments Act of 1980

(“MPPAA”), 29 U.S.C. § 1001, et seq., and under Ohio’s Uniform Fraudulent Transfer Act,

Ohio Rev. Code Ann. § 1336, et seq.

 ANSWER:        Admit.

       2.       This Court has jurisdiction over this action under sections 502(e), 502(f), and

4301(c) of ERISA, 29 U.S.C. §§ 1132(e), 1132(f), and 1451(c), and 28 U.S.C. §§ 1331 and



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1367.

 ANSWER:        Admit.

        3.      Venue lies in this Court under sections 502(e)(2) and 4301(d) of ERISA, 29

U.S.C. §§ 1132(e)(2) and 1451(d), in that the Pension Fund is administered at its principal

place of business in Rosemont, Illinois.

ANSWER:        Admit.




                                            PARTIES

         4.     The Pension Fund is a multiemployer pension plan within the meaning of

 sections 3(37) and 4001(a)(3) of ERISA, 29 U.S.C. §§ 1002(37) and 1301(a)(3).

ANSWER:         Admit.

         5.     Plaintiff Arthur H. Bunte, Jr. is a present trustee and fiduciary of the Pension

 Fund within the meaning of section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A), and he

 and his fellow trustees are the plan sponsor of the Pension Fund within the meaning of

 section 4001(a)(10) of ERISA, 29 U.S.C. § 1301(a)(10). The Trustees administer the

 Pension Fund at 9377 West Higgins Road, Rosemont, Illinois.

ANSWER:         Admit.

         6.     Pursuant to sections 502(a)(3) and 4301(a)(1) of ERISA, 29 U.S.C. §§

 1132(a)(3) and 1451(a)(1), the Trustees, by and through their designated trustee Arthur

 H. Bunte, Jr., are authorized to bring this action on behalf of the Pension Fund, its

 participants and beneficiaries for the purpose of collecting withdrawal liability.

 ANSWER:       Admit.

         7.     Defendant Gregory Stephens is an individual who resides in the State of


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Florida.

ANSWER:         Admit.

         8.     Defendant Sherry Stephens is an individual who resides in the State of

Florida.

ANSWER:         Admit.

         9.     During all relevant periods of time, Gregory Stephens and Sherry Stephens

were married.

ANSWER:         Admit.



                               BACKGROUND INFORMATION

         10.    Locker Moving & Storage, Inc. (“Locker”) is or was a corporation organized

under the laws of the State of Ohio.

ANSWER:         Admit.


11.             During all relevant periods of time, Locker was bound by collective bargaining

agreements with a certain Teamsters local union under which Locker was required to make

contributions to the Pension Fund on behalf of certain of its employees.


ANSWER:         Admit.

         12.    During all relevant periods of time, Gregory Stephens was the president of

Locker, and he directly or indirectly owned at least 80% of the total combined voting power

of all classes of outstanding stock entitled to vote or at least 80% of the total value of

outstanding shares of all classes of stock of Locker.

ANSWER:         Admit.



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 A.       Locker’s 2011 Partial Withdrawal Liability.

          13.    As a result of a decline in Locker’s contributions to the Pension Fund, the

 Pension Fund determined that on December 31, 2011, Locker effected a “partial withdrawal”

 from the Pension Fund as defined in section 4205(a)(1) of ERISA, 29

 U.S.C. § 1385(a)(1) (the “2011 Partial Withdrawal”).

 ANSWER:        Defendants lack information sufficient to admit or deny the date of

 determination and therefore deny. Admit remainder.


 14.             As a result of the 2011 Partial Withdrawal, the Pension Fund determined that

 Locker incurred withdrawal liability to the Pension Fund in the principal amount of

 $220,856.52, as determined under section 4201(b) of ERISA, 29 U.S.C. § 1381(b) (the “2011

 Partial Withdrawal Liability”).

 ANSWER:        Admit.

          15.    On or about May 16, 2013, Locker received a notice and demand for

 payment of the 2011 Partial Withdrawal Liability issued by the Pension Fund in accordance

 with sections 4202(2) and 4219(b)(1) of ERISA, 29 U.S.C. §§ 1382(2) and 1399(b)(1). The

 notice and attached invoices notified Locker that it was required to discharge its liability

 in a lump sum payment of $220,856.52 by June 1, 2013, or in monthly installments of

 $1,237.93 commencing on June 1, 2013.

ANSWER:         Admit.

         16.    Locker remitted monthly payments to the Pension Fund for the months of June

2013 through December 2013 on the 2011 Partial Withdrawal Liability, but did not make any

payments thereafter.


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      ANSWER:        Admit.

                      17.     On or about December 17, 2013, Locker received a notice from the

      Pension Fund pursuant to section 4219(c)(5)(A) of ERISA, 29 U.S.C. § 1399(c)(5)(A),

      advising that its withdrawal liability payments were past due, and which forewarned Locker of

      the consequences of its failure to pay the 2011 Partial Withdrawal Liability.

       ANSWER:        Admit.

                      18.     Locker failed to make all of the 2011 Partial Withdrawal Liability

payments in accordance with the schedule set forth by the Pension Fund.

       ANSWER:        Admit.

       B.      Locker’s 2012 Partial Withdrawal Liability.

                      19.     As a result of a decline in Locker’s contributions to the Pension Fund, the

Pension Fund determined that on December 31, 2012, Locker effected a “partial withdrawal” from

the Pension Fund as defined in section 4205(a)(1) of ERISA, 29

       U.S.C. § 1385(a)(1), (the “2012 Partial Withdrawal”).

       ANSWER:       Admit.

                      20.     As a result of the 2012 Partial Withdrawal, the Pension Fund determined

that Locker incurred withdrawal liability to the Pension Fund in the principal amount of

$227,749.54, as determined under section 4201(b) of ERISA, 29 U.S.C. § 1381(b) (the “2012 Partial

Withdrawal Liability”).

       ANSWER:       Admit.

                      21.     On or about December 6, 2013, Locker received a notice and demand for

payment of the 2012 Partial Withdrawal Liability issued by the Pension Fund in accordance with

sections 4202(2) and 4219(b)(1) of ERISA, 29 U.S.C. §§ 1382(2) and 1399(b)(1). The notice



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demanded full payment of the entire amount of the withdrawal liability by December 15, 2013,

pursuant to section 4219(c)(5)(B) of ERISA, 29 U.S.C. §1399(c)(5)(B), and Appendix E, § 5(e)(2)

of the Pension Fund’s Pension Plan. The amount demanded was $227,749.54, the balance owed at

that time on the 2012 Partial Withdrawal Liability.


      ANSWER:        Admit.

                      22.     Locker failed to make the 2012 Partial Withdrawal Liability payment to

the Pension Fund.

       ANSWER:        Admit.



       C.      Locker’s 2013 Complete Withdrawal Liability.

                      23.     The Pension Fund determined that on or about July 6, 2013, Locker

permanently ceased to have an obligation to contribute to the Pension Fund and/or permanently

ceased all covered operations, thereby effecting a “complete withdrawal” from the Pension Fund

within the meaning of section 4203 of ERISA, 29 U.S.C. § 1383 (the “2013 Complete Withdrawal”).

       ANSWER:        Admit permanent cessation effected a complete withdrawal.

                      24.     As a result of the 2013 Complete Withdrawal, the Pension Fund

determined that Locker incurred withdrawal liability to the Pension Fund in the principal amount of

$76,486.98, as determined under section 4201(b) of ERISA, 29 U.S.C. § 1381(b) (the “2013

Complete Withdrawal Liability”).

       ANSWER:        Admit.

                      25.     On or about December 6, 2013, Locker received a notice and demand for

payment of the 2013 Complete Withdrawal Liability issued by the Pension Fund in accordance with

sections 4202(2) and 4219(b)(1) of ERISA, 29 U.S.C. §§ 1382(2) and 1399(b)(1). The notice


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demanded full payment of the entire amount of the 2013 Complete Withdrawal Liability by

December 15, 2013, pursuant to section 4219(c)(5)(B) of ERISA, 29 U.S.C. § 1399(c)(5)(B), and

Appendix E, § 5(e)(2) of the Pension Fund’s Pension Plan. The amount demanded was $76,486.98,

the balance owed at that time on the 2013 Complete Withdrawal Liability.

      ANSWER:       Admit.


                     26.     Locker failed to make the 2013 Complete Withdrawal Liability payment

      to the Pension Fund.


       ANSWER:       Admit.

       D.      The Pension Fund’s Judgment Against Locker.

                     27.     On January 30, 2014, the Pension Fund filed suit against Locker in the

United States District Court for the Northern District of Illinois in a case entitled Central States,

Southeast and Southwest Areas Pension Fund, et al. v. Locker Moving and Storage, Inc., Case

No. 14 C 0667, to collect the 2011 Partial Withdrawal Liability, the 2012 Partial Withdrawal

Liability, and the 2013 Complete Withdrawal              Liability (collectively referred to as the

“Assessments”), plus interest and statutory damages (the “Lawsuit”).

       ANSWER:       Admit.

                     28.     On August 19, 2014, a consent judgment was entered in the Lawsuit

in favor of the Pension Fund and against Locker in the total amount of $641,887.63, plus post-

judgment interest (the “Judgment”).

       ANSWER:       Admit.

                     29.     To date, the full amount of the Judgment remains due and owing to

the Pension Fund.

       ANSWER:       Admit.


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 E.      Locker’s Distribution of Monies to Gregory Stephens and Sherry Stephens.

30.             Gregory Stephens, as an owner and the president of Locker, was the

individual responsible for authorizing any payments made by Locker.

 ANSWER:        Admit.

31.             During the years 2009-2011, Gregory Stephens advanced monies to Locker in

the total amount $223,000.00.

 ANSWER:        Denied he advanced monies but state that he loaned monies to Locker over the

 years to take the place of a line of credit closed by Locker’s bank at the time.

32.       To the extent Gregory Stephens advanced monies to Locker, the monies were capital

contributions, because when the advances were made there were no contemporaneous

instruments of indebtedness, no promissory notes, or any other indication that the advances

were loans.


 ANSWER:       Deny.

33.             In 2012-2014, Gregory Stephens caused Locker to repay the advances by

transferring Locker’s assets to either himself and/or to Sherry Stephens in the total

amount of $308,567 (the “Locker Distributions”).

 ANSWER:        Deny.

34.             Upon information and belief, all of the Locker Distributions were made after

Locker incurred the 2011 Partial Withdrawal Liability.

 ANSWER:        Deny.

35.             Upon information and belief, Gregory Stephens and Sherry Stephens did not

provide any consideration to Locker in exchange for the Locker Distributions.


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 ANSWER:         Deny.

36.              At the time, or as a result, of the Locker Distributions, Locker was left

insolvent and lacked sufficient assets to pay its creditors, including the Withdrawal

Liability owed to the Pension Fund.

 ANSWER:         Deny.



                                         COUNT I -
                               UNDER MPPAA’S EVADE OR AVOID
                                        PROVISION

                 37.       Plaintiffs reallege and incorporate by reference paragraphs 1-36 as and

for paragraph 37 of Count I of this Complaint.

 ANSWER:         Defendants reallege and incorporate by reference paragraphs 1-34 as though

 fully set forth herein.

38.              Section 4212(c) of ERISA, 29 U.S.C. § 1392(c), prohibits a transaction if a

principal purpose of such transaction is to evade or avoid the payment of Assessments to the

Pension Fund.

 ANSWER:         Admit.

39.              Upon information and belief, a principal purpose behind the Locker

Distributions was to evade or avoid the payment of the Withdrawal Liability owed by

Locker to the Pension Fund.

ANSWER:         Deny.


40.              Under section 4212(c) of ERISA, 29 U.S.C. § 1392(c), the Locker

Distributions may be disregarded and Gregory Stephens and Sherry Stephens may be held

liable to the Pension Fund for all amounts transferred to them by Locker.


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 ANSWER:         Deny.

         WHEREFORE, Defendants pray that Count I be dismissed.


                                         COUNT II -
                                  IMPROPER
                                  DISTRIBUTIONS

41.              Plaintiffs reallege and incorporate by reference paragraphs 1-36 as and for

paragraph 41 of Count II of this Complaint.

 ANSWER:         Defendants reallege and incorporate by reference paragraphs 1-38 as though

 fully set forth herein.

42.              This count is brought by the Pension Fund, as a creditor of Locker, for the

collection of improper distributions by Locker to Gregory Stephens and Sherry Stephens.

 ANSWER:         Deny liability, admit suit brought by fund.

43.              Upon information and belief, at the time of, or as a result of, the Locker

Distributions, Locker became unable to pay its debts and/or became insolvent, and its

inability to pay the Assessments owed to the Pension Fund was a direct and proximate result of

the Locker Distributions.


ANSWER:         Deny.

44.              The Locker Distributions were an abuse of Locker’s assets and corporate form.

In abusing Locker’s corporate form in this fashion, Gregory Stephens and Sherry Stephens are

liable to the Pension Fund to the extent of the improper distributions.

 ANSWER:         Deny.

45.              Section 502(a)(3)(b) and 4301(a) of ERISA, 29 U.S.C. §§     1132(a)(3)(b) and

1451(a), authorize this Court to impose a constructive trust on the assets that were wrongfully



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transferred or distributed by Locker to Gregory Stephens and Sherry Stephens, up to the

amount of the Judgment for the benefit of the Pension Fund.

 ANSWER:        Deny.

        WHEREFORE, Defendants pray that Count II be dismissed.



                                  COUNT III - UNDER OHIO’S
                             UNIFORM FRAUDULENT TRANSFER ACT

         46.     Plaintiffs reallege and incorporate by reference paragraphs 1-36 as and for

 paragraph 46 of Count III of this Complaint.

 ANSWER:         Defendants reallege and incorporate by reference paragraphs 1-45 as though

 fully set forth herein.

         47.     This count is brought by the Pension Fund, as a creditor of Locker, under

 Ohio’s Uniform Fraudulent Transfer Act, Ohio Rev. Code Ann. § 1336, et seq., for the

 collection of improper distributions by Locker to Gregory Stephens and Sherry Stephens.

 ANSWER:         Deny liability, admit count is brought as pleaded.

         48.     The Locker Distributions were made and entered into with the intent to

 hinder, delay, or defraud Locker’s creditors.

 ANSWER:         Deny.

         49.     Alternatively, the Locker Distributions were made without Locker receiving

 reasonably equivalent value and Locker believed or reasonably should have believed that it

 would incur debts beyond its ability to pay as they became due.

 ANSWER:         Deny.

         50.     At the time of, or as a result of, the Locker Distributions, Locker was left

 insolvent and lacked sufficient assets to pay its creditors, such as the Pension Fund.

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 ANSWER:       Deny.

        51.    The Locker Distributions were fraudulent as to the Pension Fund who was a

 creditor of Locker before and after the Locker Distributions were made.

 ANSWER:       Deny.

        WHEREFORE, Defendants pray that Count III be dismissed.



                                                    Respectfully submitted,

                                                    /s/Burr E. Anderson
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